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paiee@ue§-CWM wenzel-2 cei@i/ign¢’a@refz

 

 

 

 

 

 

 

 

 

Diagnosis

O C|inical lmpression

@ Final Diagnosis

 

Seria| Number 78
Name of Patient - Sociai Security Number 13 Sex M
Date of Birth 1958 Nationa|ity
Home Address
Date of Onset
c'€gi§l§)
(PrinciDal)Seni|e macu|ar degeneration(exudative) H35.31

 

 

Hospita| Course&
Treatment _
Recommendation

 

on Aug 29th 2016.

8.29.2016 E|yea (OS)
9.27.2016 E|yea (OS)
10.20.2016 Avastin (OD)
11.7.2016 E|yea (OS)

12.1.2016 Avastin (OU)

 

Further anti-VEGF therapy will be needed.

The patient was diagnosed with neovascu|ar age-related macu|ar degeneration (OU)

The paient has been treated with intravitreal injection 01 anti-VEGF drugs so far.

 

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Seria| Number 78
Name of Patient - Socia| Security Number 13 Sex M
Date of Birth ,1958 Nationality
Remarks a z ~_

 

Diaonosis is as above.

Date of issue January11.2017
. . . The Catholic University of Korea,

Medical|nst\tutlon Daejeon St.Mary-S Hospita §Hri

Telephone number 82-042-220-9114 F A X 82-042-253-9464

D e p art m e n t Ophtha|mo|ogy

 

 

 

 

 

L i c e n c e N o 66589 Name of Physician Kang Seunobum M

 

DaQe:

Exh. B. Korean Medica| Record, p.2

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